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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


ASHLEIGH COFFMAN on behalf of herself
and all others similarly situated,

                      Plaintiff,                          Civil Action No. 2:20-cv-733

       v.                                                 Hon. William S. Stickman IV

CALIFORNIA UNIVERSITY OF
PENNSYLVANIA,

                      Defendant.



                                   ORDER TO SHOW CAUSE

       The complaint in the above-captioned matter was filed on May 20, 2020. Pursuant to

Rule 4(m) of the Federal Rules of Civil Procedure, service of a summons and the complaint must

be effectuated upon all named defendants within ninety (90) days of the filing of the complaint,

with proof of the same being filed with the Court. To date, no return of service has been filed.

Therefore, IT IS HEREBY ORDERED this 24th day of August 2020, that Plaintiff show cause by

September 4, 2020, why this matter should not be dismissed for failure to prosecute. Show

Cause Response due by September 4, 2020.



                                                     BY THE COURT:


                                                     /s/ William S. Stickman IV
                                                     WILLIAM S. STICKMAN IV
                                                     UNITED STATES DISTRICT JUDGE
